961 F.2d 211
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Sylvester M. SMITH, Petitioner-Appellant,v.Kenneth E. TAYLOR, Warden, Maryland House of Correction;Attorney General of the State of Maryland,Respondents-Appellees.
    No. 92-6046.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 9, 1992Decided:  May 5, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-91-1252-JFM)
      Sylvester M. Smith, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Tarra R. Minnis, Office of the Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before HALL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Sylvester M. Smith appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Taylor, No. CA-91-1252-JFM (D. Md. Dec. 10, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    